                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                           Docket No. 5:16-cr-47-RLV-DCK-6

_______________________________________
                                        )
UNITED STATES OF AMERICA                )
                                        )
            v.                          )
                                        )              ORDER
PAMELA DENISE LOGAN                     )
_______________________________________ )



       This matter is before the Court on the Motion of the United States of America to dismiss

the charges against Defendant Pamela Denise Logan in the Bill of Indictment in the above-

captioned case without prejudice.

       It is hereby ordered that the motion be GRANTED and the charges against Defendant

Pamela Denise Logan in the above-captioned Bill of Indictment be dismissed without prejudice.



 Signed: February 22, 2017




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